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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA

                       Plaintiff,

v.                                                            Case No. 15-CR-142-007-EAW

JASON WILLIAMS,

                       Defendant.



                                    NOTICE OF MOTION

       Moving Party:                 Defendant Jason Williams

       Date and Time:                TBD

       Place:                        Hon. Elizabeth A. Wolford
                                     U.S. Courthouse
                                     2 Niagara Square
                                     Buffalo, New York 14202


       Supporting Papers:            Declaration of Robert C. Singer, Esq., executed
                                     December 10, 2018.

       Relief Requested:             An Order granting defendant’s Motion to Seal Exhibit K to
                                     defendant’s Sentencing Memorandum.

Dated: December 10, 2018
       Williamsville, New York

                                     SINGER LEGAL PLLC
                                     Attorneys for Defendant Jason Williams

                                     By:     s/ Robert C. Singer, Esq.
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TO:    United States Attorney’s Office
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